                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                   GREENEVILLE DIVISION

   BRISTOL ANESTHESIA SERVICES, P.C.                  )
                                                      )
                           Plaintiff,                 )
                                                      )
   v.                                                 )   Civil Action No. 2:15-cv-17
                                                      )
   CARILION CLINIC MEDICARE                           )
   RESOURCES, LLC, d/b/a                              )
   MAJESTACARE,                                       )
                                                      )
                             Defendant.               )


         RESPONSE IN OPPOSITION TO BRISTOL ANESTHESIA SERVICES, P.C.’S
              MOTION IN LIMINE OBJECTING TO CERTAIN EXHIBITS


            Defendant/Counter-Plaintiff   Carilion   Clinic   Medicare   Resources,     LLC,   d/b/a

   MajestaCare (“MajestaCare”) responds in opposition to Plaintiff/Counter-Defendant’s Motion in

   Limine Objecting to Certain Exhibits (Doc. No. 84).

                                          I.     Introduction

            MajestaCare during the relevant time period was a Virginia managed care organization

   (“MCO”) with a contract with the Virginia Department of Medical Assistance Services

   (“DMAS”), pursuant to which it enrolled Virginia Medicaid beneficiaries and paid providers for

   the services provided to its Medicaid enrollees. DMAS sets rates applicable to services provided

   to Virginia Medicaid enrollees. Bristol Anesthesia provided services to some of MajestaCare’s

   Medicaid enrollees.     MajestaCare at all times endeavored to reimburse providers at rates

   benchmarked to DMAS rates, which is the standard for DMAS and the MCOs with which it

   contracts to provide healthcare benefits to Medicaid enrollees. MajestaCare initially mistakenly

   overpaid anesthesia providers based on an incorrect algorithm used in the automated adjudication



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   of provider claims, which failed to convert minutes reported for anesthesia claims to units.

   When this mistake was discovered, it was corrected.

            Bristol Anesthesia has consistently accepted DMAS rates from DMAS for services

   provided to Medicaid enrollees. Other anesthesia providers which provided services to Virginia

   Medicaid enrollees have similarly accepted DMAS rates for those services, confirming that this

   is the norm in the managed care industry.

            Bristol Anesthesia has moved the Court to exclude evidence that confirms both its

   practice of accepting DMAS rates and these industry norms. As explained more fully below,

   such evidence is relevant to Bristol Anesthesia’s implied-in-fact contract and quantum meruit

   claims, as well as MajestaCare’s counterclaim, and is thus admissible.

                                                  II.      Argument

            MajestaCare addresses each of Bristol Anesthesia’s objections in turn:

            Defendant’s Exhibits 7 and 35

            Defendant’s Exhibit 71 is a participation agreement Bristol Anesthesia completed and

   submitted to DMAS. (See Deposition of Kimbery D. Hilton (“Hilton Dep.”) at 15-16). It was

   obtained by MajestaCare when DMAS provided it pursuant to a Freedom of Information Act

   (“FOIA”) request for “a copy of the Medicaid participation agreement for Bristol Anesthesia

   Services, PC,” a copy of which has been designated by MajestaCare as Defendant’s Exhibit 35.

   The FOIA response indicates that DMAS considered it to be “the provider participation

   agreement signed [by Bristol Anesthesia] in 2007). (See Df’s Ex. 35).

            Although Bristol Anesthesia does specifically state its evidentiary objection to

   Defendant’s Exhibit 7, it appears to be an objection to relevance. Bristol Anesthesia’s objection


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    MajestaCare notes the inadvertent duplication in a few of its exhibits and will address them before its exhibits are
   submitted to the Court.
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   is unsupported because Exhibit 7 is relevant and thus admissible under Fed. R. Evid. 401 and

   402. Bristol Anesthesia’s submission to DMAS of a participation agreement shows that it was

   agreeable to DMAS reimbursement rates for Virginia Medicaid enrollees (like the Virginia

   Medicaid enrollees who participated in the MajestaCare plan), and is thus relevant to the

   reasonable reimbursement rate for the claims at issue.

            Bristol Anesthesia’s argument that “there is no evidence [showing] that [it] otherwise

   agreed to its terms,” (Pl’s Motion at 1, Doc. No. 84), is completely belied by the undisputed facts

   that (i) Bristol Anesthesia completed the participation agreement; (ii) Bristol Anesthesia

   submitted it to DMAS; (iii) Bristol Anesthesia in fact accepted DMAS rates (based on DMAS’

   conversion factor) from DMAS, and never demanded more, (Hilton Dep. at 20-21); and (iv)

   Bristol Anesthesia represented to the community through its own website that it participated

   with, among other insurers, “Virginia Medicaid.” (See Df’s Ex. 9).

            A reasonable fact-finder can conclude that Bristol Anesthesia did intend to participate

   with Virginia Medicaid (like it represented to the community through its website), which negates

   Bristol Anesthesia’s objection to its admissibility. But regardless of whether the participation

   agreement it submitted to DMAS was a binding contract, its submission to DMAS, in

   conjunction with all of the facts identified above, makes it highly probative of Bristol

   Anesthesia’s concession that DMAS rates are reasonable rates for reimbursement of claims

   related to Virginia Medicaid enrollees, like MajestaCare’s participants.

            Defendant’s Exhibit 35 is the FOIA request through which the participation agreement

   Bristol Anesthesia submitted to DMAS was obtained by MajestaCare. To the extent Bristol

   Anesthesia is challenging its relevance, MajestaCare incorporates its arguments above.

            Bristol Anesthesia also asserts that the DMAS’ FOIA response is inadmissible under Fed.


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   R. Evid. 801(c) and 802. Courts have previously applied the public records hearsay exception to

   FOIA responses. See e.g., McClellan v. I-Flow Corp., No. 07-1309, 2010 U.S. Dist. LEXIS

   107641, *15 (D. Or. Oct. 7, 2010). The exception applies here. DMAS’ FOIA response from its

   Public     Information   Officer   through   its   dedicated    FOIA   response   email   address

   (FOIA@DMAS.Virginia.gov) is a statement of a public office that sets out a matter observed

   while under a legal duty to report. See FED. R. EVID. 803(8).

            Even if DMAS’ FOIA response did not fall within a hearsay exception, it should be

   admitted for the purpose of establishing the context for the provider agreement Bristol

   Anesthesia submitted to DMAS.          Bristol Anesthesia continues to reference the provider

   agreement with terms like an “unsigned purported agreement” and thus continues to ignore the

   logical implications of the highly probative fact that it filled out and submitted the provider

   agreement to DMAS.

            Defendant’s Exhibit 13

            Defendant’s Exhibit 13 is a chart identifying the rates other anesthesia providers agreed

   to accept (as a percentage of DMAS rates) for Medicaid enrollees who participated in

   MajestaCare’s plan. It confirms that other anesthesia providers accepted between 100% and

   110% of DMAS rates. Network rates are relevant in determining the reasonable rate for

   services and thus in this case, whether Bristol Anesthesia has already been a reasonable rate by

   MajestaCare. See River Park Hosp., Inc. v. BlueCross BlueShield of Tenn., Inc., 173 S.W.3d 43,

   60 (Tenn. Ct. App. 2002). Indeed, the Tennessee case Bristol Anesthesia cites, Doe v. HCA

   Health Servs. of Tenn., Inc., 46 S.W.3d 191, 198-99 (Tenn. 2001), confirms that “similar charges

   of other [providers] in the community” were relevant to reasonable rates. (See Pl’s Response at

   2, Doc. 84). Defendant’s Exhibit 13 reflects the charges other anesthesia providers in the


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   community are willing to accept for services provided to Medicaid enrollees participating in

   MajestaCare’s plan.     Defendant’s Exhibit 13 thus contains relevant, and highly probative,

   evidence.

            The Alabama case Bristol Anesthesia cites, Eufala Hosp. Corp. v. Lawrence, 32 So.3d

   30, 45-46 (Ala. 2009) does not support Bristol Anesthesia’s objection. As a threshold matter, it

   applied Alabama and not Tennessee law. Id. at 45. Substantively, Eufala involved claim

   asserted by a plaintiff “who was not participating in Medicare or Medicaid.” Id. at 31. The

   plaintiff in Eufala was a patient without medical insurance who also did not participate in

   Medicare or Medicaid. Prior to receiving treatment by the defendant hospital, she signed an

   admission contract that obligated her to pay the hospital “in accordance with the regular rates

   and terms of the Facility.” Id. The plaintiff subsequently sued, in essence alleging she had been

   overcharged, and thus implicating the reasonable value of the services she received. Id. at 32.

   One of the plaintiff’s arguments was that the hospital accepted lower rates from Blue Cross,

   Medicare, and Medicaid, and thus those rates should apply to her. Id. at 46. The Alabama

   Supreme Court concluded that those rates “may not be the baseline on which to calculate a

   reasonable charge for the medical services rendered” for this particular plaintiff-patient, who as

   discussed above was not covered by insurance or enrolled in Medial or Medicaid and thus did

   not fall within those “classes of patients.” Id. at 46.

            Eufala does not hold that Medicaid rates are irrelevant, which wholly belies its

   applicability to Bristol Anesthesia’s relevance objection.        But in addition, it materially

   distinguishable because here, the “class of patients” at issues is Virginia Medicaid enrollees, for

   which Medicaid reimbursement rates are highly relevant.

            Defendant’s Exhibit 14


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            Defendant’s Exhibit 14 identifies all of the anesthesia providers who were initially

   overpaid by MajestaCare due to the incorrect algorithm used to process reimbursement claims.

   It is relevant to Bristol Anesthesia’s implied-in-fact contract claim because it demonstrates that

   the initial overpayments were based on a mistake, and a mistake which many other providers

   understood as such and did not challenge a correction and appropriate recoupment.            (See

   Deposition of Donna Littlepage (“Littlepage Dep.”) at 153). It is relevant to Bristol Anesthesia’s

   quantum meruit claim because it, when coupled with testimony that other anesthesia providers

   did not challenge MajestaCare’s recoupment of overpayments, indicates that other anesthesia

   providers accept DMAS rates as the benchmark for reasonable rates. And it is relevant to

   MajestaCare’s recoupment claim because it demonstrates that MajestaCare’s recoupment efforts

   were not limited to Bristol Anesthesia but consistent across multiple anesthesia providers who

   did not challenge them, which tends to show that those recoupment efforts were reasonable.

   These multiple bases for relevance make Defendant’s Exhibit 14 admissible under Fed. R. Evid.

   401 and 402.

                                          III.    Conclusion

            Based on the foregoing, Bristol Anesthesia’s objections to MajestaCare’s identified

   exhibits should be overruled, and its motion in limine denied.


                                                 /s/John E. B. Gerth
                                                 John E. B. Gerth (Tenn. BPR 024439)
                                                 Waller Lansden Dortch & Davis, LLP
                                                 511 Union Street, Suite 2700
                                                 Nashville, Tennessee 37219
                                                 Telephone: (615) 244-6380
                                                 Facsimile: (615) 244-6804
                                                 E-mail: jeb.gerth@wallerlaw.com

                                                 Attorneys for Defendant Carilion Clinic Medicare
                                                 Resources, LLC, d/b/a MajestaCare

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                                  CERTIFICATE OF SERVICE

           I certify that I have served a true and correct copy of the foregoing via the Court’s
   electronic filing system upon:

            R. Lucas Hobbs
            Elliott Lawson & Minor, P.C.
            110 Piedmont Avenue, Suite 300
            Bristol, VA 24201

   on July 14, 2017.

                                             /s/John E. B. Gerth




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